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IN THE UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF TENNESSEE Cléik, U. S. Disitict Court
AT CHATTANOOGA Eastern District of Tennesse
At Chattanooga

JONATHAN D. FROST, SOLE
SHAREHOLDER OF JD MANAGEMENT, mic | |
INC., AS MEMBER MANAGER OF JD : Civil Action No.: [22 [M1 Un

FROST & COMPANY, PLLC, : f .
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Petitioner,

Vv.
UNITED STATES OF AMERICA,
Respondent.

PETITION OF JONATHAN D. FROST, SOLE SHAREHOLDER OF JD
MANAGEMENT, INC., AS MEMBER MANAGER OF
JD FROST & COMPANY, PLLC, TO QUASH IRS SUMMONSES

Petitioner, Jonathan D. Frost, Sole Shareholder of JD Management, Inc., as Member
Manager of JD Frost & Company, PLLC (“JD Frost”), by and through counsel and pursuant to
26 U.S.C. § § 7609(b)(2) and (h) hereby petitions this Court for an order quashing three Internal
Revenue Service (“IRS”) summonses issued to JD Frost on March 19, 2021, regarding Eagle
Mountain View, LLC, English Mountain View, LLC, and Carver Mountain Reserve, LLC.

On the face of the summonses, the IRS requests information for the tax period ended
December 31, 2016. However, Attachment B to the summons is more expansive and seeks
information from December 31, 2015 to January 1, 2018. The summonses are overly broad and
unduly burdensome to Mr. Frost. Contemporaneously, the IRS delivered written instructions
inconsistent with the language of the summonses. Specifically, the dates of appearance at the

Uptain Road office and the dates of production of the request for documents.

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Internal Revenue Service

Attn: Yan Shu Zhao, Internal Revenue Agent
2888 Woodcock Blvd.

Atlanta, GA 30341

Internal Revenue Service
Andrew S. Breig, Manager
2888 Woodcock Blvd.
Atlanta, GA 30341

Kerry Mock
11175 Cicero Drive, Suite 100

Alpharetta, GA ow)
By: ~_

Konvalinka, Esq.

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WHEREFORE, JD Frost requests the Court enter an order quashing the summonses.

This the 8" day of April, 2021.

Respectfully submitted,

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By: d é

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CERTIFICATE OF SERVICE

I hereby certify that on April 8, 2021, this pleading was served via U.S. mail first class
upon the following persons:

United States of America

c/o U.S. Attorney General
U.S. Department of Justice
950 Pennsylvania Avenue NW
Washington, DC 20530

United States of America

c/o U.S. Attorney’s Office
110 9" Avenue S. Suite A961
Nashville, TN 37203

Eagle Mountain View, LLC

English Mountain View, LLC

Carver Mountain Reserve, LLC
Bondurant, Mixson & Elmore, LLP

c/o Jason J. Carter, Esq.

Amanda D. Bradley

1201 W. Peachtree Street NW Suite 3900
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= Da

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